              IN THE UNITED STATES COURT OF APPEALS
                       FOR THE THIRD CIRCUIT


                             No. 21-1832


MADISON M. LARA; SOPHIA KNEPLEY; LOGAN D. MILLER; SECOND
AMENDMENT FOUNDATION, INC.; FIREARMS POLICY COALITION,
                                                Appellants

                                 v.

          COMMISSIONER PENNSYLVANIA STATE POLICE,
                                                                 Appellee


               PETITION FOR PANEL REHEARING, OR,
               ALTERNATIVELY, REHEARING EN BANC


           APPEAL FROM THE JUDGMENT OF THE UNITED STATES
      DISTRICT COURT FOR THE WESTERN DISTRICT OF PENNSYLVANIA
                 ENTERED APRIL 16, 2021(NO. 2-20-CV-01582)
                (HON. WILLIAM S. STICKMAN, IV, PRESIDING)

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                              RULE 35.1 STATEMENT

         I express a belief, based on reasoned and studied professional judgment, that

the Panel’s decision is contrary to the decisions of the United States Supreme Court

and that consideration by the full Court is necessary to secure and maintain

uniformity of decisions. The Panel’s decision is contrary to United States v. Rahimi,

602 U.S. 680 (2024) and N.Y.S.R.P.A. v. Bruen, 597 U.S. 1 (2022). This appeal

involves exceptionally important questions, as the Panel resolved reoccurring

methodological questions that will bind this Court in future Second Amendment

cases.




                                           v
                                INTRODUCTION

      Last year, this Court narrowly denied rehearing after a divided panel held that

Pennsylvania’s law establishing 21 as the minimum age to publicly carry firearms

during emergencies violates the Second Amendment. Lara v. Comm'r Pa. State

Police, 91 F.4th 122 (3d Cir. 2024), reh’g denied, 97 F.4th 156 (3d Cir. 2024) (“Lara

I”). Preempting Rahimi, the Lara I Majority misinterpreted Bruen to require

Founding-era twins. 91 F.4th at 137 (seeking “a single founding-era statute imposing

restrictions on the freedom of 18-to-20-year-olds to carry guns”). The Supreme

Court granted certiorari, vacated, and remanded for reconsideration under Rahimi,

Paris v. Lara, 24-93 (U.S. Oct. 15, 2024), reflecting the Justices’ assessment of at

least a “reasonable probability” that Rahimi changed the result. Lawrence v. Chater,

516 U.S. 163, 167 (1996).

      On remand, however, the Majority barely accounted for Rahimi’s principles-

focused methodology. Lara v. Comm’r Pa. State Police, 125 F.4th 428 (3d Cir.

2025) (“Lara II”). By the Majority’s own admission, Lara II is largely a rehash of

Lara I. Id. at 431 (the opinion is “repetitive of our earlier decision”). The Majority

doubled down on its misinterpretation of Bruen, requiring the Commissioner to find

a 1791 replica of Pennsylvania’s law. Id. at 439 (seeking “an eighteenth-century

regulation barring 18-to-20-year-olds from carrying firearms”). And, once again, the

Majority invoked inapposite Founding-era militia laws to justify ignoring all post-

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enactment historical regulations from the mid-to-late nineteenth century. Id. at 443-

44.

           For the second time, the Majority has bound this Circuit to an erroneous

Second Amendment methodology that will inevitably confuse and complicate future

cases, threatening firearm regulations in three states. Whatever the ultimate result,

this Court should not permit the Majority’s deeply-flawed analysis to be the final

word on these important issues.

                      REASONS FOR GRANTING REHEARING

      I.        THE MAJORITY’S ANALYSIS CONFLICTS WITH BRUEN AND RAHIMI.

           A.     The Majority overlooked relevant historical principles.

           In Rahimi, the Supreme Court clarified that Bruen never “meant to suggest a

law trapped in amber” or that the Second Amendment permits only “those

regulations identical to ones that could be found in 1791.” Id. at 691-92. Instead, the

analysis is “whether the challenged regulation is consistent with the principles that

underpin our regulatory tradition.” Id. at 692 (emphasis added). As Judges Restrepo

and Krause accurately perceived even before Rahimi, Pennsylvania’s minimum age

restriction is consistent with historical principles. Lara I, 91 F.4th at 146-147

(Restrepo, J., dissenting); id., 97 F.4th at 161 (Krause, J., dissenting from rehearing

denial).




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       Rahimi confirms that the Second Amendment broadly permits modern firearm

restrictions on categories of persons who pose a danger if armed. 602 U.S. at 697-

700; see also Kanter v. Barr, 919 F.3d 437, 458 (7th Cir. 2019) (Barrett, J.,

dissenting) (“founding-era legislatures categorically disarmed groups … judged to

be a threat to the public safety”); Folajtar v. Att'y Gen. of the United States, 980 F.3d

897, 924 (3d Cir. 2020) (Bibas, J., dissenting) (“the Second Amendment's

touchstone is dangerousness”). And “which groups posed sufficient risk to justify

categorical disarmament” was historically a question for legislatures. Lara I, 97

F.4th at 161 (Krause, J., dissenting from rehearing denial).

       Critically, Founding-era legislatures routinely established minimum age

requirements for fundamental rights, and typically drew the line at age 21. See, e.g.,

Act No. 311 of Feb. 14, 1730, 4 Statutes at Large of Pennsylvania from 1682 to

1801, at 152 (establishing 21 as the minimum age for marriage). Under the common

law, too, under-21-year-olds were considered minors. Lara II, 125 F.4th at 449-51

(Restrepo, J., dissenting) (citing, inter alia, William Blackstone, Commentaries on

the Laws of England (1765)). The consequences of this categorization were

“profound,” as minors had “very little independent ability to exercise fundamental

rights,” including the right to contract, own property, speak, associate, marry, and

petition. Id. at 451.




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      In sum, Founding-era legislatures could: (1) categorically disarm those who

posed a danger; and (2) set minimum age requirements for the exercise of

fundamental rights. “Taken together,” see Rahimi, 602 U.S. at 698, this history

establishes that restrictions on 18-to-20-year-olds comport with the principles that

underpin our regulatory tradition.

      This Court is also bound to consider whether post-ratification history

reinforces this view.1 It does.

      Between 1856 and 1897, twenty jurisdictions curtailed the gun rights of

under-21-year-olds, enacting more restrictive laws than the modest Pennsylvania

scheme challenged here. Megan Walsh & Saul Cornell, Age Restrictions and the

Right to Keep and Bear Arms, 1791-1868, 108 MINN. L. REV. 3049, 3092 (2024)

(collecting statutes); Response Br. at 29-31 (3dCir.ECF 23). As will be discussed

infra at I(C), the timing of those laws coincided with a rise in firearm violence by

minors—a societal problem the Founding generation did not confront.

      Unsurprisingly, 19th-century courts and commentators—not to mention the

public—widely approved of these regulations. Patrick Charles, Armed in America:

The History of Gun Rights from Colonial Militias to Concealed Carry, 141, 404-05


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         District of Columbia v. Heller, 554 U.S. 570, 641 (2008) (post-ratification
history, including from the Reconstruction era, is “instructive”); see also McDonald
v. City of Chicago, 561 U.S. 742, 770-78 (2010); Bruen, 597 U.S. at 52-53; Rahimi,
602 U.S. at 722-28 (Kavanaugh, J., concurring); id. at 738 (Barrett, J., concurring).

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n.212 (2018). In the only known legal challenge to one of these laws, Tennessee’s

Supreme Court upheld a law banning pistol sales to under-21-year-olds. State v.

Callicutt, 69 Tenn. 714, 716-17 (1878). Thomas Cooley—“the most famous” 19th-

century legal scholar to interpret the Second Amendment, Heller, 554 U.S. at 616—

explained that “the State may prohibit the sale of arms” to under-21-year-olds.

Thomas Cooley, Treatise on Constitutional Limitations, 740 n.4 (5th ed. 1883). A

survey of 19th-century newspapers and other sources found consistent public

support for these laws “in the hopes of stemming the tide of firearm-related injuries

at the hands of minors.” NRA v. Bondi, 61 F.4th 1317, 1329 (11th Cir. 2023).2 “It

would be odd indeed if the people who adopted the Fourteenth Amendment did so

with the understanding that it would invalidate widely adopted and widely approved-

of gun regulations at the time.” Id. at 1330.

      Many of these 19th-century laws went significantly further in curtailing arms-

bearing by under-21-year-olds than Pennsylvania does today. Some banned all

possession by minors, while others prohibited minors from acquiring or carrying

arms. 1883 Kan. Sess. Laws 159 (1883); 1883 Wis. Sess. Laws 290 (1883).

Pennsylvania merely prohibits 18-to-20-year-olds from publicly carrying during




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          reh’g granted, opinion vacated, 72 F.4th 1346 (11th Cir. 2023).

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emergencies. 18 Pa.C.S. § 6107. This modest limitation adheres to historical

principles and traditions.

      Taken together, these historical sources reveal that legislatures may establish

21 as the minimum age for gun rights because of the danger posed by armed minors.

The Majority’s misapprehension of Bruen and Rahimi caused it to overlook this

history.

      B.     The Majority contrived a conflict between the Founding and
             Reconstruction.

      In both Bruen and Rahimi, it was unnecessary for the Court to resolve

“whether courts should primarily rely on the prevailing understanding of an

individual right when the Fourteenth Amendment was ratified in 1868 when defining

its scope.” Rahimi, 602 U.S. at 692 n.1 (quoting Bruen, 597 U.S. at 37). But the

Majority resolved that issue here, binding future panels and lower courts. The

Majority claimed that by merely referencing post-enactment statutes, the

Commissioner asserted “by implication” a conflict between 1791 and 1868

understandings and thus “forced” the issue. Lara II, 125 F.4th at 439 n.17. Not so.

      The Commissioner’s actual position is—and has always been—that it is

unnecessary to resolve that question here because there is no conflict between the

1791 and 1868 understandings of the rights of 18-to-20-year-olds. Post-

Rem.Supp.Br. at 21 (3dCir.ECF 107); Letter Br. at 5 n.1 (3dCir.ECF 57). The people

who adopted the Second Amendment in 1791 believed that under-21-year-olds were
                                         6
minors who could have certain fundamental rights restricted. The people who

adopted the Fourteenth Amendment in 1868 shared that understanding.

      It is unclear precisely why the Majority perceived a conflict between 1791 and

1868. Parts of the opinion seemingly reason from Founding-era silence, i.e., that the

absence of identical regulations means the Founding generation necessarily

disapproved of minimum age laws. Lara II, 125 F.4th at 439 n.17. Other passages

suggest a conflict between Founding-era militia statutes and 19th-century-

minimum-age laws. Id. at 443-44. This ambiguity, standing alone, necessitates

rehearing, as district courts will inevitably struggle to understand the proper analysis.

Whatever the basis for the Majority’s holding, neither analysis comports with the

Supreme Court’s Second Amendment precedents.

      Insofar as the Majority reasoned from Founding-era silence, that analysis is

the functional equivalent of demanding historical twins, and shrugs off the High

Court’s admonition that “the Second Amendment permits more than just those

regulations identical to ones that could be found in 1791.” Rahimi, 602 U.S. at 692.

Simply put, Rahimi belies the Majority’s conclusion that the absence of identical

arms-bearing restrictions on 18-to-20-year-olds in 1791 means that the Founding

generation disapproved of them. The Majority’s reasoning has no limiting principle,

and would require invalidating all age restrictions on firearm possession—even on

five-year-olds—because such laws did not exist at the Founding.

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      To the extent the Majority perceived a conflict between 19th-century age laws

and Founding-era militia laws, that conclusion is also unsound. Bruen instructs that

when assessing the relevance of historical statutes, courts must consider the general

societal problem the laws addressed. 597 U.S. at 26. Because the Majority failed to

understand the underlying purpose of Founding-era militia statutes, it gleaned the

wrong principle from them.

      Founding-era militia statutes were “not about protecting handguns for self[-

]defense, but securing muskets for national defense.” Kevin Sweeney, “Firearms,

Militias, and the Second Amendment,” The Second Amendment on Trial: Critical

Essays on District of Columbia v. Heller, 362-63 (2013). Accordingly, “the

composition of the militia was always dictated by strategic imperatives, not by any

constitutional mandate” that under-21-year-olds had the right to bear arms. Saul

Cornell, “Infants” and Arms Bearing in the Era of the Second Amendment: Making

Sense of the Historical Record, 40 YALE L. & POL’Y REV. INTER ALIA 1, 16 (2021).

      “In times of war, the age for service in the militia crept down towards sixteen;

in times of peace, it crept up towards twenty-one.” NRA v. Swearingen, 545

F.Supp.3d 1247, 1256-59 (N.D. Fla. 2021), aff’d sub nom, Bondi. When the Second

Amendment was ratified in 1791, nine states mandated militia service beginning at

age 16. Id. at 1257. The Majority does not meaningfully grapple with this fact: the

minimum age for militia service fluctuated based on strategic imperatives. See also

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Lara I Reh’g Pet., at 17-18 (3d.Cir.ECF 81). Nor does the Majority account for how

the logical extension of its analysis would impact firearms restrictions on 16 and 17

year olds.

      Militia laws are an exceedingly-weak source for understanding the Founding

generation’s view of the Second Amendment. Precisely for this reason, the High

Court made it clear—more than 15 years ago—that the scope of the Second

Amendment is “unconnected with militia service.” Heller, 554 U.S. at 582

(emphasis added). Because militia laws are irrelevant to an individual’s right to self-

defense, Heller, 554 U.S. at 603, and offer no insights into how the Founding

generation viewed regulations protecting the public from gun violence by minors,

they are not relevant to the present inquiry.

      But even if 18th-century militia laws were relevant, Judge Restrepo ably

explained why they actually underscore the Founding generation’s view that under-

21-year-olds did not have inherent Second Amendment rights. Lara II, 125 F.4th at

451-52. When militia laws called on under-21-year-olds to serve, parental consent

was usually a prerequisite, and parents were often required to furnish participating

minors with arms. Walsh & Cornell, 108 MINN. L. REV. at 3080-81. Such provisions

appear superfluous if minors already had the inherent right to acquire and carry

firearms, as the Majority suggests.




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      Adult supervision was also a critical component of under-21-year-olds’ ability

to bear muskets in the militia where they served “under the supervision of peace

officers who … stood in loco parentis.” Lara II, 125 F.4th at 452 (Restrepo, J.,

dissenting). Thus, at the Founding, “access to, and the ability to keep and bear,

weapons occurred in supervised situations where minors were under the direction of

those who enjoyed legal authority over them[.]” Cornell, Infants, 40 YALE L. &

POL’Y REV. INTER ALIA at 14. That minors occasionally bore arms in the militia “at

the pleasure of their superiors” did not mean they had “an independent right under

the Second Amendment” that they could assert against the government. Lara II, 125

F.4th at 452-53 (Restrepo, J., dissenting).

     In short, the Majority’s reliance on Founding-era silence and inapposite militia

laws reveals its fundamental misapprehension of Bruen and Rahimi.

      C.     The Majority lapsed into a “use it or lose it” view of legislative
             authority.

      In its search for Founding-era replicas, the Majority overlooked an important

reason why early legislatures may not have enacted specific laws curtailing the gun

rights of minors: there was simply no societal need for such regulations in 1791. And

“[l]egislatures tend not to enact laws to address problems that do not exist[.]” Lara

II, 125 F.4th at 453 (Restrepo, J., dissenting).

      In 1791, handguns “were owned by a tiny fraction of the population,” and it

was exceedingly difficult for minors to acquire firearms without parental consent.
                                          10
Walsh & Cornell, 108 MINN. L. REV. at 3088, 3062-63, 3078. The commonly-owned

weapon—a musket—was time-consuming to load, single-shot, inaccurate, and

prone to misfire. Joseph Blocher & Eric Ruben, Originalism-by-Analogy and Second

Amendment Adjudication, 133 YALE L. J. 99, 153 (2023). Because of the “scarcity

and limited lethality” of Founding-era weapons, there was no need to enact age-

restrictions at that time. Lara I, 95 F.4th at 165 (Krause, J., dissenting from rehearing

denial).

      This changed during the 19th century. By the 1850s, the mass production of

deadlier and more accurate handguns made such weapons “readily available” for the

first time. Id. at 3088. Increased access led to a “tide of firearm-related injuries at

the hands of minors.” Charles, Armed in America at 141. These monumental

economic and technological changes created the imperative for legislatures to enact

laws restricting the ability of under-21-year-olds to acquire and use handguns. Walsh

& Cornell, 108 MINN. L. REV. at 3087-89.

      The Supreme Court instructed courts to take a “nuanced approach” to cases

“implicating societal concerns or dramatic technological changes” not present at the

Founding. Bruen, 597 U.S. at 27-28. Because regulatory challenges evolve, “the

Constitution can, and must, apply to circumstances beyond those the Founders

specifically anticipated.” Ibid.; Rahimi, 602 U.S. at 692 (“the Second Amendment




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permits more than just those regulations identical to ones that could be found in

1791”).

      Here, however, the Majority failed to recognize that there was “little need to

enact modern-style gun regulations aimed at restricting access to weapons” at the

Founding. Walsh & Cornell, 108 MINN. L. REV. at 3088. Only in the 19th century

did States began to “deal with gun violence as a significant societal problem for the

first time in American history.” Id. (emphasis added). Instead of analyzing this

history with nuance, the Majority wrongly assumed that “founding-era legislatures

maximally exercised their powers to regulate, thereby adopting a ‘use it or lose it’

view of legislative authority.” Rahimi, 602 U.S. at 739-40 (Barrett, J., concurring).

The Majority flattened the relevant history, and its reasoning is incompatible with

Bruen and Rahimi.

      D.     The Panel ignored Rahimi’s guidance on facial challenges.

      The lone issue in this case is whether 18 Pa.C.S. § 6107—which prohibits

unlicensed carry during emergencies and does not mention age—survives a facial

challenge. Lara II, 125 F.4th 432 n.5 (“Appellants … have not articulated any as-

applied challenge”); Comm’r Reply Supporting Remand at 9-11 (3d.Cir.ECF 96)

(detailing Appellants’ “ever-changing request for relief”). Appellants’ choice to

bring the “most difficult challenge to mount successfully” goes a long way towards

resolving this case. Rahimi, 602 U.S. at 693. The Majority erred in concluding that

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Appellants demonstrated “no set of circumstances” under which Pennsylvania’s law

would be valid. Ibid.

       It bears emphasizing that Pennsylvania is not in the practice of disarming 18-

to-20-year olds, who may generally carry firearms openly without a license.3

Pennsylvania regulates public carry of any kind (open or concealed) during

proclaimed emergencies by limiting it to individuals who have undergone

investigations and background checks. 18 Pa.C.S. §§ 6107, 6109(d).4 The question,

therefore, is whether this limitation is constitutional in any application. Rahimi, 602

U.S. at 693. It is.

       The Majority’s contrary conclusion means that during an emergency—e.g.,

due to civil unrest or natural disaster—Pennsylvania is powerless to stop unlicensed

18-to-20-year-olds from going armed with deadly weapons. That holding defies

common sense and is inconsistent with historical practice. The Court should confirm

the facial validity of Pennsylvania’s law.




       3
         Contra Range v. Attorney General, 124 F.4th 218, 230–31 (3d Cir. 2024)
(contrasting “de facto lifetime disarmament” with “temporary disarmament”);
Worth v. Jacobson, 108 F.4th 677, 683 (8th Cir. 2024) (striking down ban on all
carry by 18-to-20-year-olds); Reese v. ATF, 2025 WL 340799, at *3 (5th Cir. 2025)
(striking down ban on handgun purchases by 18-to-20-year-olds).
       4
        Even during emergencies, 18-to-20-year-olds may still possess firearms,
carry firearms on private property, and publicly-carry firearms when actively
engaged in self-defense. 18 Pa.C.S. § 6107(a)(1).

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   II.        THE PANEL SHOULD HAVE REMANDED FOR FURTHER PROCEEDINGS.

         A.     The Commissioner should have been allowed an opportunity to
                develop a historical record.

         This appeal arises from the District Court’s 2021 pre-Bruen decision granting

the Commissioner’s motion to dismiss and denying a preliminary injunction. Given

the seismic legal and factual developments since then, the Commissioner requested

a full remand back to the District Court. 3dCir.ECF 92, 96. Without explanation, the

Panel denied that request. 3d.Cir.ECF 102.

         Regrettably, the Commissioner has been denied the opportunity to tailor his

arguments in the District Court to the Bruen standard—let alone Rahimi—trapping

him in a jurisprudential moment before courts had honed and sketched out the

historical inquiry it mandates. This Court recently recognized that cases litigated

pre-Bruen should be remanded “[g]iven the intervening developments in our Second

Amendment law[.]” Pitsilides v. Barr, ___ A.3d ___, 21-3320, Op. at 15 (3d Cir.

Feb 10, 2025); see also Atkinson v. Garland, 70 F.4th 1018 (7th Cir. 2023). A

remand here would similarly enable the Commissioner to develop a historical and

factual record, potentially with the aid of a historical expert, as States have done in

other similar cases. Oregon Firearms Fed'n v. Kotek, 682 F.Supp.3d 874, 885, 899-

901 (D. Or. 2023); Capen v. Campbell, 708 F.Supp.3d 65, 70, 82-83, 89-90 (D.

Mass. 2023); Vermont Fed'n of Sportsmen’s Clubs v. Birmingham, 2024 WL

3466482, *2, 8-13, 15-16 (D. Vt. 2024).
                                           14
      The Panel’s refusal to remand defies this Court’s call for “extreme caution”

before enjoining democratically-enacted gun laws at preliminary phases of litigation.

Delaware State Sportsmen’s Ass’n v. Delaware Dep't of Safety & Homeland Sec.,

108 F.4th 194, 199 (3d Cir. 2024). Discretion is particularly warranted where, as

here, “federal courts are asked to block states from enforcing their laws” because it

“threatens federalism and the separation of powers[.]” Id. at 205-06.

      The Panel should have granted the Commissioner’s request to remand to the

District Court so that he could, for the first time, develop a record under the Bruen

and Rahimi framework. Absent that opportunity, this case will stand for the

proposition that happenstance and litigation strategy can frustrate thoughtful review

in Second Amendment cases.

      B.     Appellants should not have been permitted to enlarge the appellate
             record with new evidence.

      Although the Panel refused to allow the Commissioner to develop a record, it

permitted Appellants to enlarge the record on appeal with a vague, self-serving

affidavit aimed at staving off mootness. 3d.Cir.ECF 114, 115, 116.

      Because all three individual plaintiffs are now at least 21 years of age, their

claims are moot. That leaves the two organizational plaintiffs—the Firearms Policy

Coalition and the Second Amendment Foundation (collectively, “Organizational

Plaintiffs”)—alone to litigate these claims. But, as Organizational Plaintiffs


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acknowledge, they must have at least one member who would have standing in order

to proceed. Lara II, 125 F.4th at 445 n.28.

      Below, the Organizational Plaintiffs did not establish that they have any

Pennsylvania members other than the three individual plaintiffs. They therefore

moved to enlarge the record on appeal with a recently-compiled declaration by

Keegan Gaston, an 18-year-old member of the Organizational Plaintiffs’ groups who

avers that he owns a handgun, desires to carry on public streets during declared

emergencies, and interprets Pennsylvania’s law to forbid that act. Gaston Decl. at ¶¶

2-9 (3dCir.ECF 114-1). The Majority found no standing issue because “nothing has

been provided calling those simple facts into question.” Lara II, 125 F.4th at 445

n.28. Which is true, but only because the Majority denied the Commissioner’s

request for a remand to discover those facts.

      Moreover, the Majority’s conclusion that Gaston’s affidavit saves this case

from mootness erroneously presumes that any 18-to-20-year-old Pennsylvanian

necessarily has standing to challenge the law. That reasoning ignores the possibility

that Gaston falls within one of the 15 enumerated exceptions in Pennsylvania’s

statute which would exempt him from the licensing requirement all together, thus

permitting him to carry even during a proclaimed emergency. 18 Pa.C.S. § 6106(b)

(exceptions to licensing requirement); 18 Pa.C.S. § 6107(a)(2) (permitting public

carry during emergencies for persons “exempt from licensing under section

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6106(b)”). None of these facts are before the Court, not because they are irrelevant,

but because the Majority allowed Appellants to supplement the record with a vague

declaration, while denying the Commissioner any opportunity to challenge that

evidence.

      Fortunately, there is both a process and a forum to adjudicate these facts:

discovery in the District Court. See Pitsilides at 15-20. It was profoundly unfair to

allow a one-sided expansion of the record so that Appellants could avoid any

discovery and maintain organizational standing with a vague post-appeal

declaration, while simultaneously denying the Commissioner the opportunity to

meet his Bruen evidentiary burden in the District Court.

      C. The Majority’s remedy subjects 18-to-20-year-olds to less oversight
         than other adults.

      This case also should have remanded so that the District Court could craft an

appropriate remedy. Instead, the Majority re-wrote Pennsylvania’s intricate statutory

scheme, giving 18-to-20-year-olds more rights and subjecting them to less oversight

than other adults.

      Under Pennsylvania’s law, public carry of any kind (open or concealed)

during emergencies is limited to those with licenses. 18 Pa.C.S. § 6107(a)(2). The

rationale for this policy choice is obvious: Pennsylvania’s legislature wanted to limit

arms-bearing during emergencies to those who have undergone the investigations


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and background checks required before obtaining licenses. 18 Pa.C.S. § 6109(d).

The distinction is between licensees and non-licensees.

      An 18-to-20-year-old publicly carrying during an emergency will not have

undergone any investigation or background check. In fact, 18-to-20-year-olds do not

even undergo background checks before acquiring handguns, as federal law

prohibits them from purchasing handguns from federally-licensed dealers. 18 U.S.C.

§ 922(b)(1). Thus, the Majority’s ham-handed remedy affords 18-to-20-year-olds—

and only them—the unique privilege of unlicensed public carry during proclaimed

emergencies without any background check. That remedy does considerable

violence to the delicate statutory scheme that Pennsylvania’s legislature enacted.

      Instead of rewriting Pennsylvania’s statute on a limited, one-sided factual

record, the Panel should have remanded for further proceedings so the District Court

could determine whether the Appellants’ proposed injunction satisfies the applicable

criteria. Shields v. Zuccarini, 254 F.3d 476, 482 (3d Cir. 2001).




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                                CONCLUSION

      The Court should grant rehearing.

                                     Respectfully submitted,

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      I, Daniel B. Mullen, Senior Deputy Attorney General, hereby certify as

follows:

      1. That I am a member of the bar of this Court.

      2. That the text of the electronic version of this brief is identical to the text of

the paper copies.

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40. In making this certificate, I have relied on the word count of the word-processing

system used to prepare the brief.

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